       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 1 of 20                  FILED
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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION


RUTHIE TUCK                                 ]
                                            ]
      Plaintiff,                            ]
                                            ]
v.                                          ]     Case No.: 1:17-cv-00394-ACA
                                            ]
ALABAMA INSTITUTE FOR                       ]
THE DEAF AND BLIND, et al.,                 ]
                                            ]
      Defendants.                           ]

                         MEMORANDUM OPINION

      In her shotgun complaint, Plaintiff Ruthie Tuck asserts that Defendants

Alabama Institute for the Deaf and Blind (“AIDB”), John Mascia, and Travis

Fields violated her rights under Title VII of the Civil Rights Act of 1964 (“Title

VII”), 42 U.S.C. § 1981, the Americans with Disabilities Act, 42 U.S.C. § 12101,

et seq. (the “ADA”), and the equal protection clause of the Fifth and Fourteenth

Amendments. (Doc. 1). The Defendants moved for summary judgment and Ms.

Tuck responded to the motions. (Doc. 26 and Doc. 27). Having considered the

motions, responses, and evidentiary submissions, the court WILL GRANT the

Defendants’ motions.
         Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 2 of 20




I.    BACKGROUND

      In deciding a motion for summary judgment, the court “draw[s] all

inferences and review[s] all evidence in the light most favorable to the non-moving

party.” Hamilton v. Southland Christian Sch., Inc., 680 F.3d 1316, 1318 (11th Cir.

2012).

      In the light most favorable to Ms. Tuck, the facts are as follows. AIDB is

the official state agency designated to conduct educational and training programs

for the deaf, hearing impaired, blind, and visually handicapped residents of the

State of Alabama. Ala. Code § 21-1-23. The E.H. Gentry Technical Facility is a

vocational and educational rehabilitation program under the umbrella of AIDB that

serves deaf and blind adults, known to AIDB as its “consumers.” (Doc. 21-2 at 4–

5). AIDB “employment specialists” assist consumers in obtaining employment

within the community through personalized assessments and vocational training

based on their professional goals. (Id.; Doc. 26-30 at 1–2). AIDB also assigns

each consumer a job coach who provides hands on pre-employment training in real

world settings while under the job coach’s supervision. (Doc. 21-2 at 4–6; Doc.

21-1 at 7).

      AIDB employees are assigned to caseloads based on the needs of their

consumer population. (Doc. 21-1 at 11). Those caseloads include four categories:




                                        2
          Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 3 of 20




general, 1 blind, deaf, and deaf/blind. (Id.). Ms. Tuck, a black female, worked as a

job coach for the general caseload at E.H. Gentry from 2011–2015. (Id. at 11, 14).

During that same period, the general caseload employment specialist was Lori

Mitchell. (Id. at 11).

      Beginning around 2011, job coaches within E.H. Gentry were assigned

duties traditionally performed by employment specialists. (Doc. 21-1 at 19–20,

28–29). The job coaches did not receive a salary increase in consideration for

assuming these additional responsibilities. (Id.). In November 2011, Ms. Mitchell

was promoted to “Assistant to Director of Student and General Services” but

retained her responsibilities as employment specialist. (Doc. 21-5 at 3, ¶¶ 6–7;

Doc. 21-1 at 20–21). Following Ms. Mitchell’s promotion, Ms. Tuck was required

to perform the role of both employment specialist and job coach without receiving

additional compensation. (Doc. 1 at 5–6, ¶ 16).

      Frustrated that they did not receive additional compensation, Ms. Tuck and

two other job coaches submitted several complaints to AIDB managers and

requested clarification of their duties and responsibilities. (Doc. 21-3 at 3; Doc.

26-6 at 1; Doc. 26-7 at 1–3; Doc. 26-19 at 1–2). The job coaches argued that their

job description did not accurately reflect the duties of the job coach position and

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         The general caseload includes Consumers who suffer from cognitive
disabilities such as autism, schizophrenia, and bipolar disorder. (Doc. 21-1 at 10–
11).

                                         3
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 4 of 20




requested back pay for completing the additional tasks. (Doc. 26-14 at 1–3; Doc.

26-19 at 1–2).

      Travis Fields, AIDB’s Executive Director, reviewed these grievances and

held a meeting with job coach personnel to better understand their concerns.

(Doc. 21-2 at 8–10). Thereafter, Mr. Fields referred the matter to the human

resources department to “take a good look at it” and determine whether changes in

the job description were necessary.      (Id. at 8–9).   Upon review, the human

resources department concluded that “all of the duties assigned to the job coaches

were within the scope of their job description” and “the salary scale did not need to

be changed.” (Doc. 21-5 at 3). Despite these findings, Mr. Fields relieved the job

coaches of certain duties. (Doc. 21-2 at 14).

      On November 27, 2012, AIDB posted an opening for a Human Resources

Coordinator position. (Doc. 1 at 6–7, ¶ 18). Ms. Tuck met the qualifications for

the position and submitted an application. (Doc. 21-1 at 32). Ms. Tuck was

interviewed but not referred to the hiring committee for consideration. (Doc. 1 at

6–7, ¶ 18; Doc. 21-9 at 3). Instead, AIDB hired a white male candidate for the

position. (Doc. 21-1 at 32; Doc. 21-5 at 2).

      On June 23, 2013, Ms. Tuck took a leave of absence from AIDB to undergo

orthopedic surgery. (Doc. 27-32 at 1–4). Two months later, Ms. Tuck returned to

AIDB with a doctor’s note that limited her to “light duty work” (doc. 21-1 at 57),

                                         4
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 5 of 20




and included restrictions on “standing and walking” (doc. 21-3 at 5). Mr. Fields

determined that “the limitations given by Ms. Tuck’s physician would not have

permitted her to perform all of the necessary duties of her job.” (Id.). As a result,

Ms. Tuck was placed on paid medical leave until she was able to perform all of her

regular job duties. (Doc. 21-1 at 17–18, 35; Doc. 21-9 at 5, ¶ 15).

      On October 8, 2013, an employment coordinator position became available

requiring a minimum of “five years of experience” and a “sign language level of

intermediate.” (Doc. 26-28 at 1–3). Ms. Tuck met the listed qualifications and

applied for the position, but was not offered an interview. (Doc. 21-1 at 16–17).

AIDB received sixteen applications and interviewed two candidates. (Doc. 21-5 at

2–3). Ultimately, a black female was selected for the position. (Id.).

      On October 12, 2014, Ms. Mitchell resigned as employment specialist for

the general caseload at E.H. Gentry. (Id. at 4, ¶¶ 12–14). In December, Ms. Tuck

applied for the position when the opening was posted by AIDB. (Doc. 21-1 at 7).

That same month, Ms. Tuck filed a complaint with the Equal Employment

Opportunity Commission (“EEOC”) against AIDB, alleging that it had

discriminated against her on the basis of race, gender, and physical disability. (Id.

at 53–58).

       AIDB hired Ms. Tuck for the employment specialist position in February

2015. (Id. at 5). Ms. Tuck received a considerable salary increase with the

                                         5
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 6 of 20




promotion. (Id. at 7, 12–13). However, Ms. Tuck continued to perform the duties

of both an employment specialist and job coach due to budget constraints.

(Doc. 21-1 at 14–17). She remains in that position today. (Doc. 1 at 1).

      Ms. Tuck commenced this action on March 13, 2017, asserting claims

against AIDB, John Mascia, and Travis Fields, in their official and individual

capacities. (Id. at 4–5, ¶¶ 10–13). Ms. Tuck’s complaint includes five counts

against the Defendants. In Count One, Ms. Tuck alleges that the Defendants

discriminated against her on the basis of race and gender by failing to promote her

and by failing to provide additional compensation for performing the duties of

employment specialist and job coach, in violation of Title VII and § 1981. (Id. at

6–9, ¶¶ 18–19, 26, 28, 30). In Count Two, Ms. Tuck brings a claim pursuant to 42

U.S.C. § 1983 for alleged violations of her equal protection rights based on the

same allegations that form the basis of her claim in Count One. (Id. at 13–15, ¶¶

47–55). In Count Three, Ms. Tuck alleges that AIDB retaliated against her after

she requested a promotion and salary increase for preforming the duties of

employment specialist and job coach. (Doc. 1 at 15–17, ¶¶ 57, 60). Count Four

alleges that AIDB subjected her to a hostile work environment by failing to

provide additional compensation for performing the duties of employment

specialist and job coach. (Id. at 17–18, ¶¶ 64–68). In Count Five, Ms. Tuck claims

that the Defendants denied her reasonable accommodations by not allowing her to

                                         6
        Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 7 of 20




return to work while she recovered from orthopedic surgery in violation of the

ADA. (Id. at 18–19, ¶¶ 71–73).

II.   DISCUSSION

      The Defendants move for summary judgment on all counts of the complaint.

In their motions, Defendants argue that claims asserted with respect to AIDB’s

failure to promote Ms. Tuck are time-barred under both Title VII and § 1983. The

Defendants contend that Ms. Tuck’s ADA failure-to-accommodate claim is time-

barred as well. As to the remaining counts, the Defendants contend that Ms. Tuck

is unable to establish a prima facie case for her disparate treatment, hostile work

environment, and retaliation claims. Additionally, Defendants Mascia and Fields

argue they are entitled qualified immunity on all claims brought against them in

their individual capacities.

      In deciding a motion for summary judgment, the court must first determine

if the parties genuinely dispute any material facts, and if they do not, whether the

moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). A

disputed fact is material if the fact “might affect the outcome of the suit under the

governing law,” and a dispute is genuine “if the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986).




                                         7
          Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 8 of 20




      In response to Defendants’ motions for summary judgment, Ms. Tuck

concedes a number of claims. She agrees that Mr. Fields and Dr. Mascia are

entitled to summary judgment on all claims made against them in their official

capacities. (Doc. 27-1 at 17). Ms. Tuck also concedes that summary judgment

should be entered in favor of the Defendants on Count Five, which alleges

violations of the ADA. (Doc. 26-1 at 13–14). And, Ms. Tuck agrees that she is

barred from bringing any claims based on unlawful employment practices that

occurred outside the time period in which she was required to file a charge with the

EEOC, although she disagrees about the applicable time limitation. (Id.).

      A. Title VII Claims

      Ms. Tuck alleges violations of Title VII for failure to promote, disparate

treatment, hostile work environment, and retaliation.2 Each of these claims fail as

a matter of law. The failure to promote claim is barred by the applicable statute of

limitations. The disparate treatment, hostile work environment, and retaliation

claims fail because Ms. Tuck cannot establish a prima facie case for any of these

claims. The court will address each claim in turn.




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         Ms. Tuck’s complaint merely alleges she was subjected to a hostile work
environment. She does not identify a particular cause of action that results from
this allegation. (Doc. 1 at 17–18). Her brief in response to Defendants’ motions
for summary judgment implies the claims arise under Title VII. (Doc. 26-1 at 13–
14).
                                       8
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 9 of 20




      1. Failure to Promote

       The Defendants argue that Ms. Tuck’s failure to promote claim is time-

barred under Title VII because she filed her EEOC charge more than 180 days

after the alleged discrimination occurred. Ms. Tuck concedes that only those

unlawful employment practices complained of in a timely-filed charge of

discrimination can form the basis for Title VII liability. However, Ms. Tuck

maintains that the applicable time limitation is 300 days.

      To bring a Title VII action, a plaintiff must exhaust her administrative

remedies with the EEOC before she is permitted to file suit in federal court.

Wilkerson v. Grinnell Corp., 270 F.3d 1314, 1317 (11th Cir. 2001); see 42 U.S.C.

§ 2000e–5(e). “Whether a plaintiff must allege discriminatory treatment within

180 days or within 300 days depends on whether that plaintiff lives in a “deferral”

or “non-deferral” state.” Hipp v. Liberty Nat. Life Ins. Co., 252 F.3d 1208, 1214,

n.2 (11th Cir. 2001). A “deferral state” is a state with an EEOC-like administrative

agency. See generally E.E.O.C. v. Commercial Office Prod. Co., 486 U.S. 107,

110–11 (1988). In non-deferral states such as Alabama, which does not have an

EEOC-like administrative agency, the plaintiff must file her charge of

discrimination within 180 days “after the alleged unlawful employment practice

occurred.” 42 U.S.C. § 2000e-5(e)(1); see also Ledbetter v. Goodyear Tire &

Rubber Co., Inc., 421 F.3d 1169, 1178 n.13 (11th Cir. 2005).

                                          9
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 10 of 20




      In this case, Ms. Tuck filed a charge with the EEOC on December 23, 2014.

(Doc. 21-1 at 53). Consequently, any claims arising from an unlawful employment

practice that occurred before June 26, 2014, are time-barred. According to Ms.

Tuck’s EEOC charge, AIDB failed to promote her on two separate occasions—

first on February 11, 2013, and again on December 17, 2013. (Id. at 55–56;

Doc. 21-5; Doc. 27-29). Because both of these acts occurred before June 26, 2014,

Ms. Tuck’s failure to promote claim brought under Title VII is barred.

Accordingly, the court WILL GRANT summary judgment for the Defendants on

Ms. Tuck’s Title VII failure to promote claims.

      2. Disparate Treatment

      Ms. Tuck contends that AIDB discriminated against her by refusing to

provide additional compensation in consideration for performing the roles of

employment specialist and job coach from 2011–2017. Defendants argue they are

entitled to summary judgment on Ms. Tuck’s disparate treatment claim because

she fails to establish a prima facie case of discrimination under Title VII. They

also allege that Ms. Tuck has not proven that the legitimate, nondiscriminatory

reasons AIDB offered for their decisions were pretextual. Because the court finds

that Ms. Tuck did not establish a prima facie case of discrimination, it will not

address the alleged failure to establish pretext.




                                          10
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 11 of 20




      To be entitled to relief, Ms. Tuck must show that: (1) she is a member of a

protected class; (2) she suffered an adverse employment action; (3) AIDB treated

similarly situated employees outside of her protected class more favorably; and (4)

she was qualified to do the job. See McDonnell Douglas Corp.v. Green, 411 U.S.

792, 802 (1973).     The burden then shifts to the Defendants to articulate a

legitimate, non-discriminatory reason for their action. Texas Dept. of Community

Affairs v. Burdine, 450 U.S. 248, 254–55 (1981). If the Defendants sustain their

burden, Ms. Tuck must prove that Defendants’ proffered reason is really a pretext

for unlawful discrimination. Id. at 255–56.

      Here, Ms. Tuck is unable to establish the third prong of her prima facie case

because she presents no evidence that AIDB treated similarly situated employees

outside of her protected class more favorably. Ms. Tuck’s complaint appeared to

claim that she was treated differently because of her gender and her race (doc. 1 at

8, ¶ 23), but did not identify any male comparators (doc 21-1at 12, 25-26). And,

the evidence establishes that AIDB employees of all races were required to

perform job coach duties while employed as employment specialists in other

caseloads within G.H. Gentry without additional compensation. (Doc. 21-1 at 12,

14–15, 19–21, 25). In fact, Ms. Tuck admitted as much in her deposition. (Doc.

21-1 at 18-19). Because AIDB required other employees outside of Ms. Tuck’s

protected class to perform the functions of both job coach and employment

                                        11
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 12 of 20




specialist, Ms. Tuck cannot prove she was treated differently because of her race or

gender. Consequently, she cannot establish the third prong of her prima facie case.

      Ms. Tuck does not deny she cannot prove the third prong of her prima facie

case that AIDB treated her differently than employees outside of her protected

class by requiring her to perform the functions of multiple jobs. Instead, she

attempts to refashion her disparate treatment claim by alleging that AIDB denied

her reasonable accommodations after undergoing orthopedic surgery but provided

such accommodations to employees outside of her protected class. (Doc. 26-1 at

9–11). She makes this claim for the first time in response to AIDB’s motion for

summary judgment.

      Ms. Tuck cannot amend her complaint in her response to a motion for

summary judgment in an effort to save her claim.           See Gilmour v. Gates,

McDonald and Co., 382 F.3d 1312, 1315 (11th Cir. 2004). But, even if Ms. Tuck

was permitted to raise this argument for the first time in her brief opposing

summary judgment, she still fails to make a prima facie case of disparate

treatment.   According to Ms. Tuck’s deposition testimony, AIDB provided

reasonable accommodations to both female and black employees who suffered

from physical disabilities but were nonetheless able to perform all of the essential

functions of their jobs. (Doc. 21-2 at 11–13; Doc. 21-3 at 6). And, the undisputed

evidence establishes that AIDB only accommodated those employees who were

                                        12
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 13 of 20




able to perform the essential functions of their jobs. (Doc. 21-3 at 5–7). Ms. Tuck

does not dispute that she could not perform the essential functions of her job, even

with accommodations. (Id. at 5–6; Doc. 21-2 at 11). Therefore, Ms. Tuck fails to

identify any similarly situated comparators outside of her protected class who were

treated more favorably.

      Because Ms. Tuck is unable to present evidence establishing a prima facie

case of disparate treatment, the court WILL GRANT summary judgment for the

Defendants with respect to her Title VII disparate treatment claim.

      3. Hostile Work Environment

      Ms. Tuck alleges that she was “subjected to harassment by her superiors” as

evidenced by AIDB’s “require[ment] to complete an excessive work load” and it’s

failure to address her requests for assistance. (Doc. 1 at 17, ¶ 65). She also alleges

that an isolated incident she considered offensive was directed at her during a staff

meeting and that someone sabotaged her computer. (Id. at 17–18, ¶¶ 66–67).

      To establish a prima facie hostile work environment claim, Ms. Tuck must

show that: (1) she belongs to a protected group; (2) she has been subject to

unwelcome harassment; (3) the harassment was based on a protected characteristic;

(4) the harassment was sufficiently severe or pervasive to alter the terms and

conditions of her employment and create a discriminatorily abusive working

environment; and (5) that the Defendants are responsible for the hostile

                                         13
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 14 of 20




environment under a theory of vicarious or direct liability. Miller v. Kenworth of

Dothan, Inc., 277 F.3d 1269, 1275 (11th Cir. 2002).

      Ms. Tuck’s claim fails for a number of reasons. First, she does not claim

that she was subjected to this alleged hostility because she belonged to a protected

group. Indeed, the evidence established that AIDB required job coaches of all

races to perform multiple job functions. Second, Ms. Tuck cannot establish that

that the alleged harassment was so severe that it altered the terms and conditions of

her employment.

      Ms. Tuck does not address the Defendants’ contention that she cannot

identify a severity that altered the terms and conditions of her employment or

provide any evidence in support of her hostile work environment claims. Instead,

Ms. Tuck rests her entire response only on the conclusory statement that “she has

suffered a continuing and ongoing pattern of behavior exhibited by Defendant’s

that amounts to a hostile work environment.” (Doc. 26-1 at 13–14). This is

wholly insufficient to overcome a motion for summary judgment.

      While the court must view the evidence in the light most favorable to Ms.

Tuck, “consideration of a summary judgment motion does not lessen the burdens

on the non-moving party . . . of coming forward with sufficient evidence on each

element that must be proved.” Earley v. Champion Int’l, 907 F.2d 1077, 1080

(11th Cir. 1990) (citing Anderson, 477 U.S. at 249–50). Because Ms. Tuck fails to

                                         14
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 15 of 20




present a legal or factual basis in support of her hostile work environment claims,

she does not sustain her burden of proof under Fed. R. Civ. P. 56.

      Accordingly, the court WILL GRANT the Defendants’ motions as to Ms.

Tuck’s hostile work environment claims under Title VII.

      4. Retaliation

      Defendants move for summary judgment on Ms. Tuck’s retaliation claims

on the basis that she is unable to establish a prima facie case under Title VII. In

response to the Defendants’ motions for summary judgment, Ms. Tuck abandons

all retaliation claims “occurring beyond 300 days of filing her EEOC charge.”3

(Doc. 26-1 at 14; Doc. 27-1 at 9). Therefore, the only conceivable claims of

retaliation presently before the court are AIDB’s decision to wait two months

before posting the employment specialist position in 2014 and its refusal to hire a

job coach for the general caseload in 2015. (Doc. 21-9 at 6; Doc. 21-1 at 3, 24).

      To establish a prima facie case of retaliation, Ms. Tuck must show that: (1)

she engaged in a statutorily protected activity; (2) she suffered an adverse

employment action; and (3) some causal relationship existed between the two

events. Holifield v. Reno, 115 F.3d 1555, 1566 (11th Cir. 1997). If Ms. Tuck

establishes a prima facie case, the Defendants must provide a legitimate, non-


      3
      As noted above, in non-deferral states such as Alabama, a Title VII charge
must be filed with the EEOC within 180 days after the alleged unlawful
employment practice occurred. Hipp, 252 F.3d at 1214 n.2.
                                      15
         Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 16 of 20




discriminatory reason for their actions which Ms. Tuck will then be required to

rebut as pretextual. Jones v. Lumberjack Meats, Inc., 680 F.2d 98, 101 (11th Cir.

1982).

      Defendants contend that Ms. Tuck’s retaliation claims fail because she

cannot establish a causal link between the alleged adverse employment actions and

the filing of her EEOC complaint. The court agrees. The record reflects that after

Ms. Mitchell resigned as employment specialist for the general caseload, AIDB

delayed posting an opening to fill the position until November 4, 2014. (Doc. 21-5

at 4, ¶¶ 12–14). Ms. Tuck filed her complaint with the EEOC on December 23,

2014. (Doc. 1 at 17, ¶ 67; Doc. 21-1 at 53–58).      Because AIBD delayed posting

the employment specialist position before Ms. Tuck filed her discrimination

charge, she cannot establish the requisite causal connection between her protected

activity and this alleged adverse employment action.

      As for AIDB’s decision not to hire a job coach for the general caseload,

there is nothing in the record to suggest that this decision was born of anything

other than a legitimate, nondiscriminatory reason. Defendants have presented

undisputed evidence that AIDB’s decision was based on budgetary concerns and

its plan to restructure the way in which it staffed consumer caseloads. (Doc. 21-1

at 16, 23, 28; Doc. 21-6 at 4). In the face of this legitimate, non-retaliatory reason

for the challenged employment action, the burden shifted back to Ms. Tuck to

                                         16
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 17 of 20




prove that the Defendants’ explanation is merely a pretext. Lubetsky v. Applied

Card Sys., Inc., 296 F.3d 1301, 1305 (11th Cir. 2002) (citations omitted). Ms.

Tuck failed to offer any evidence of pretext and therefore failed to sustain her

burden. Accordingly, the court WILL GRANT summary judgment for the

Defendants as to this claim.

      B. Claims for Relief Outside of Title VII

      In addition to the claims brought pursuant to Title VII, Ms. Tuck alleges that

her equal protection rights under both the Fifth and Fourteenth Amendments were

violated. She brings those claims under § 1981 and §1983. Because the Fifth

Amendment does not provide a private right of action for claims against state

officials, the court will not address those claims and WILL ENTER summary

judgment in favor of Defendants as to any claim of a Fifth Amendment violation.

See United States v. Houston, 456 F.3d 1328, 1335 n.5 (11th Cir. 2006).

      1. Claims Brought Pursuant to §1981

      “Section 1981 does not provide a cause of action against state actors;

instead, claims against state actors or allegations of § 1981 violations must be

brought pursuant to § 1983.” Baker v. Birmingham Bd. of Educ., 531 F.3d 1336,

1337 (11th Cir. 2008). When asserted against a state actor, it is the law of this

Circuit that § 1981 claims have been “effectively merged into the section 1983

claim for racial discrimination.” Busby v. City of Orlando, 931 F.2d 764, 771, n.6

                                        17
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 18 of 20




(11th Cir. 1991). Because the Defendants are all state actors, Ms. Tuck’s § 1981

claims will be analyzed below as part of her claims pursuant to § 1983.

      2. Failure to Promote

      Ms. Tuck brings a claim pursuant to § 1983 alleging that that AIDB denied

her equal protection by promoting unqualified individuals outside of her protected

class. Defendants argue this claim is barred by the applicable statute of limitations.

Ms. Tuck did not offer a response to Defendants’ contention, and with good

reason.

      The statute of limitations for § 1983 claims is the limitations period for

“personal injury actions” in the state in which the district court is situated. Wilson

v. Garcia, 471 U.S. 261, 276 (1985). In Alabama, § 1983 claims are subject to the

two-year statute of limitations period contained in Ala. Code § 6-2-38(1). Jones v.

Preuit &Mauldin, 876 F.2d 1480, 1483 (11th Cir. 1989). As discussed supra, Ms.

Tuck’s claim is based on decisions made in November 2012 and October 2013.

Because Ms. Tuck filed her lawsuit more than two years after the alleged acts

occurred, the claim is barred by the statute of limitations. Therefore, the court

WILL GRANT summary judgment in favor of the Defendants on Ms. Tuck’s

§ 1983 failure to promote claims.




                                         18
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 19 of 20




      3. Disparate Treatment

      The legal elements necessary to prove disparate treatment under both Title

VII and § 1983 are identical. Stallworth v. Shuler, 777 F.2d 1431, 1433 (11th Cir.

1985). For the same reasons Ms. Tuck’s claim fails under Title VII, it fails under §

1983. Accordingly, the court WILL GRANT summary judgment in favor of the

Defendants on Ms. Tuck’s disparate treatment claim brought under §1983.

      4. Claims Against Mascia and Fields in Their Individual Capacities

      Defendants Mascia and Fields move for summary judgment on the basis that

they are entitled to qualified immunity with respect to all claims in their individual

capacities because Ms. Tuck has failed to establish that their conduct amounted to

a violation of her constitutional rights.

      In Saucier v. Katz, 533 U.S. 194 (2001), the Supreme Court established a

two-part test for resolving qualified immunity claims. First, a court must decide

whether the facts that a plaintiff has alleged make out a violation of a constitutional

right. Id. at 201. Second, if the plaintiff has satisfied this first step, the court must

decide whether the right at issue was clearly established at the time of the

defendant’s alleged misconduct. Id. Qualified immunity protects government

officials performing discretionary functions from civil damage suits as long as the

conduct in question does not violate a clearly established constitutional right.

Anderson, 477 U.S. at 640.

                                            19
       Case 1:17-cv-00394-ACA Document 30 Filed 01/31/19 Page 20 of 20




       As stated above, Ms. Tuck has failed to establish a violation of her rights

under either the Constitution or federal law. Accordingly, the court need not

address the Defendants’ qualified immunity argument and WILL GRANT

summary judgment in favor of Dr. Mascia and Mr. Fields on all claims brought

against them in their individual capacities. See County of Sacramento v. Lewis,

523 U.S. 833, 841 n.5 (1998) (“[T]he better approach to resolving cases in which

the defense of qualified immunity is raised is to determine first whether the

plaintiff has alleged the deprivation of a constitutional right at all.”); see also

Saucier, 533 U.S. at 201 (“If no constitutional right would have been violated were

the allegations established, there is no necessity for further inquiries concerning

qualified immunity.”).

III.   CONCLUSION

       For the reasons stated above, the court WILL GRANT the Defendants’

motions for summary judgment and WILL enter judgment as a matter of law. The

court will enter a separate order consistent with this memorandum opinion.

       DONE and ORDERED this January 31, 2019.



                                   _________________________________
                                   ANNEMARIE CARNEY AXON
                                   UNITED STATES DISTRICT JUDGE




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